Case 6:17-cr-00015-RBD-LRH Document 658 Filed 10/19/20 Page 1 of 3 PageID 8079




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 UNITED STATES OF AMERICA

 v.                                                     Case No. 6:17-cr-15-Orl-37LRH

 JARVIS WAYNE MADISON
 _____________________________________

                                          ORDER

       Defendant moved for discovery of information concerning the creation of the jury

 venire, specifically the race, gender, and age of the 800 jurors summoned to fill out case-

 specific questionnaires. (Doc. 618 (“Motion”).) On referral, U.S. Magistrate Judge Leslie

 R. Hoffman recommends granting the Motion in part, providing a general report of the

 800 jurors’ race, gender, and age without any personal identifying information as

 redacting each individual questionnaire would be unduly burdensome on the Clerk’s

 Office. (Doc. 630 (“R&R”).) Defendant objects to the R&R. (Doc. 653.) On review, the

 Court modifies the R&R. 1

       Under Federal Rule of Criminal Procedure 59(b), the “district judge must consider

 de novo any objection to the magistrate judge’s recommendation.” And the “district

 judge may accept, reject, or modify the recommendation.” Fed. R. Crim. P. 59(b).

 Defendant argues a summary of the 800 jurors’ demographics does not show the

 demographics of which jurors filled out questionnaires compared to everyone




       1The Court addresses the Objection without a response from the Government as
 the Government did not oppose Defendant’s Motion. (See Doc. 618, ¶ 10.)
                                             -1-
Case 6:17-cr-00015-RBD-LRH Document 658 Filed 10/19/20 Page 2 of 3 PageID 8080




 summoned, which he contends is necessary for a statistical analysis of a fair cross-section

 claim. (Doc. 653, ¶¶ 4, 5.) And Defendant now suggests various options to protect jurors’

 confidential information—none of which were presented to Judge Hoffman. (See Doc.

 653; cf. Doc. 618.) After consultation with the Clerk’s Office, one of these options is

 tenable—a report of the 800 jurors summoned with juror participation and sequence

 numbers attached to the jurors’ race, gender, and age information. (See Doc. 653, pp. 15–

 16.) Given the serious nature of this case and the availability of this information, the Court

 grants the Motion despite these options not being properly brought before Judge

 Hoffman.

        Accordingly, it is ORDERED AND ADJUDGED:

        1.     U.S. Magistrate Leslie R. Hoffman’s Report and Recommendation (Doc.

               630) is ADOPTED and made a part of this Order as MODIFIED below.

        2.      Defendant’s Unopposed Fifth Motion for Discovery of Information

               Concerning the Confection and Creation of the Jury Venire During COVID-

               19 Pandemic (Doc. 618) is GRANTED IN PART AND DENIED IN PART:

               a.     Withing fourteen (14) days of this Order, the Clerk is DIRECTED to

                      provide Defendant’s counsel a report of the 800 jurors summoned to

                      fill out case-specific questionnaires in this case, with the juror’s

                      participation number, sequence number, race, gender, and age

                      information without any other personal identifying information.

               b.     The parties and counsel are DIRECTED to keep all information and

                      materials they review, inspect, copy and/or otherwise receive from

                                              -2-
Case 6:17-cr-00015-RBD-LRH Document 658 Filed 10/19/20 Page 3 of 3 PageID 8081




                     the Clerk in accordance with the orders of the Court in the utmost

                     confidence and not to divulge any such information or materials to

                     any other person without first receiving approval from the Court.

             c.      In all other respects, the Motion is DENIED.

       DONE AND ORDERED in Chambers in Orlando, Florida, on October 19, 2020.




 Copies to:
 Counsel of Record




                                           -3-
